            Case 2:05-cr-00059-DFL Document 70 Filed 09/16/05 Page 1 of 4


1    QUIN DENVIR, Bar #49374
     Federal Defender
2
     MATTHEW C. BOCKMON, Bar #161566
3    Assistant Federal Defender
     Designated Counsel for Service
4    801 I Street, 3rd Floor
     Sacramento, California 95814
5    Telephone: (916) 498-5700                     OK/HAV
6    Attorney for Defendant
     MATTHEW WALLACE SCHACHTER
7      aka ROBERT LEWIS BROWN
8
9                        IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       )      NO. CR-S-05-59 DFL
                                     )
13                  Plaintiff,       )
                                     )      STIPULATION AND [PROPOSED] ORDER
14        v.                         )      CONTINUING MOTION HEARING/STATUS
                                     )      CONFERENCE
15   MATTHEW WALLACE SCHACHTER,      )
          aka Robert Lewis Brown,    )
16        aka Matthew Rollins; and   )      Date: October 20, 2005
     LLOYD THOMPSON                  )      Time: 10:00 a.m.
17                                   )      Judge: David F. Levi
                    Defendants.      )
18   _______________________________ )
19
20        The United States of America through Robin R. Taylor, Assistant
21   United States Attorney; Lloyd Thompson, by and through his counsel,
22   Dwight M. Samuel; and Matthew Schachter, by and through his counsel,
23   Matthew C. Bockmon, Assistant Federal Defender, agree to vacate the
24   motion hearing/status conference hearing date of September 15, 2005 and
25   continue the matter for further motion hearing/status conference on
26   October 20, 2005, at 10:00 a.m..
27        Matthew Schachter remains hospitalized at the San Joaquin
28   Hospital. He has been diagnosed with B cell lymphona.          It has not
             Case 2:05-cr-00059-DFL Document 70 Filed 09/16/05 Page 2 of 4


1    spread to his spine or his brain and according to U.C. Davis oncologist
2    Wellbourne, it is treatable with chemotherapy.          Mr. Schachter’s first
3    cycle of chemotherapy was begun recently.          It is anticipated that he
4    will continue such treatments for approximately 6 months.               He has had
5    one testical removed.      He has had a tracheotomy.       He is on a ventilator
6    at this time and is very weak and unable to breath on his own.              He has
7    a large tumor in his abdomen and a clot in one leg.           His kidney
8    function is not normal, but it unclear whether it is diseased or not.
9    Although he is alert and awake, he cannot communicate as he cannot talk
10   and is too weak to write.          He is being sedated for pain.
11         Additionally, Dwight Samuel, co-counsel for Lloyd Thompson, is in
12   a murder trial and unavailable.
13         In light of the above-facts, the parties, through their respective
14   attorneys hereby stipulate to continue the status conference/motions
15   hearing in this case until October 20, 2005, at 10:00 a.m.
16         IT IS FURTHER STIPULATED that the period from September 15, 2005
17   through and including October 20, 2005 be excluded in computing the
18   time within which trial must commence under the Speedy Trial Act,
19   pursuant to 18 U.S.C. § 3161(h)(4) and Local Code N as Mr. Schachter is
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //


     Stipulation/Order/CR-S-05-59-DFL           2
              Case 2:05-cr-00059-DFL Document 70 Filed 09/16/05 Page 3 of 4


1    physically unable to stand trial.
2    Dated: September 14, 2005
3                                              Respectfully submitted,
4                                              QUIN DENVIR
                                               Federal Defender
5
                                               /s/ Matthew C. Bockmon
6                                              ________________________________
                                               MATTHEW C. BOCKMON
7                                              Assistant Federal Defender
                                               Attorney for Defendant
8                                              MATTHEW WALLACE SCHACHTER
                                                  aka Robert Lewis Brown
9
10                                             /s/ Matthew C. Bockmon for
                                               _________________________________
11                                             DWIGHT M. SAMUEL
                                               Attorney for Defendant
12                                             LLOYD THOMPSON
                                               per telephonic authorization
13
14   Dated:    September 14, 2005
15                                             MCGREGOR W. SCOTT
                                               United States Attorney
16
                                               /s/ Matthew C. Bockmon for
17                                             _________________________________
                                               ROBIN TAYLOR
18                                             Assistant U.S. Attorney
                                               per telephonic authority
19
20                                        O R D E R
21   IT IS SO ORDERED.
22   Dated: September 15, 2005
23
24
25                                                 DAVID F. LEVI
26                                                 United States District Judge

27
28


     Stipulation/Order/CR-S-05-59-DFL          3
             Case 2:05-cr-00059-DFL Document 70 Filed 09/16/05 Page 4 of 4


1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Stipulation/Order/CR-S-05-59-DFL         4
